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           Fwd: Keegan

           From: Megan Morgan
                 (meganmorgan165@gmail.com)
           To:       shbegler@aol.com

           Date: Thursday, January 5, 2023 at
                 11:02 AM EST




           ---------- Forwarded message
           ---------
           From: Megan Morgan
           <meganmorgan165@gmail.co
           m>
           Date: Thu, Jan 5, 2023 at 10:33
           AM
Case 3:20-cr-00007-KRG-KAP Document 1876 Filed 01/05/23 Page 2 of 2


           Subject: Keegan
           To: <shbegler@ail.com>



                    Keegan.pdf
                    1.1MB
